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                                                                                  PageID    104
                                                                                      DISTIUCT COURT
                                                                               NOIU'J ll!RN lllSTJUCT OF TEXAS
                                                                                         FJLED
                        IN THE UNITED STATES DISTRICT CO RT
                             NORTHERN DISTRICT OF TEX~~/                             JAN    j   6 2019   l
                                 FORT WORTH DIVISION .

JANE CUMMINGS,                                    §                             CLERK, U.S. DISTRICT COURT
                                                  §                               By·--..,...----
                                                                                       bcputy
                Plaintiff,                        §
                                                  §
vs.                                               §   NO. 4:18-CV-649-A
                                                  §
PREMIER REHAB, P.L.L.C.,                          §
                                                  §
               Defendant.                         §


                                    MEMORANDUM OPINION
                                            and
                                           ORDER

        Came on for consideration the motion of defendant, Premier

Rehab Keller, P.L.L.C. d/b/a Premier Rehab, P.L.L.C.                               ("Premier"),

to dismiss. The court, having considered the motion, the response

of plaintiff, Jane Cummings                 ("Cummings"), the reply, and

applicable authorities, finds that the motion should be granted.

                                                 I.

                                 Plaintiff's Allegations

       On August 7, 2018, Cummings initiated this action by the

filing of her original complaint. Doc. 1. 1 She filed her amended

complaint on October 25, 2018. Doc. 11. Cummings alleged the

following in her amended complaint:

       She is deaf, her first and primary language is American Sign

Language      ("ASL"), and, because of her deafness, she has limited



        'The "Doc._" references are to the numbers assigned to the referenced items on the docket in
this Case No. 4: l 8-CV-649-A.
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proficiency in English. Id. at.3 ,, 9-10. Cummings is also

legally blind due to albinism, and, as a result, she cannot

communicate effectively in writing. Id. at 3 ,, 11-12.

     On October 27, 2016, Cummings contacted Premier to schedule

an appointment for physical therapy and requested an ASL

interpreter. Id. at 3-4 , 15. Premier told her that it would not

provide an interpreter, but that she could attend her appointment

without one or provide one herself. Id. at 4 , 16. Premier also

offered to communicate with her through written notes, lip

reading, and gesturing. Id. Cummings explained that such methods

were ineffective because of her visual impairment, but Premier

again denied her an interpreter. Id. at 4 , 17. She received

physical therapy from another provider but "received

unsatisfactory care." Id. at 4 , 17. She contacted Premier to

request an interpreter on November 2, 2016, and again on February

28, 2017, but Premier refused to provide her an interpreter each

time. Id. at 4 , 19-20. Premier's discrimination also caused her

"to suffer humiliation, frustration, and emotional distress." Id.

at 5 , 27. She "still wishes to access Defendant's services and

receive care in Defendant's facilities." Id. at 5 , 28.

     Premier discriminated against her on the basis of disability

by denying her an interpreter, in violation of Title III of the




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Americans With Disabilities Act          ("ADA"), 42 U.S.C.   §   12182(a)

(id. at 7 , 41), Section 504 of the Rehabilitation Act ("RA"), 29

U.S.C.    §   794   (id. at 8 , 49), Section 1557 of the Affordable Care

Act     ("ACA"), 42 U.S.C.    §   18116 (id. at 10, 59), and Section

121.003 of the Texas Human Resources Code ("THRC")            (id. at 11 ,

70) .

                                  * * * * * * *
        Cummings sought in her complaint a declaratory judgment that

Premier,      in violation of the ADA, RA, ACA, and THRC,

discriminated against her on the basis of disability. Id. at 12 ,

(a). She also requested injunctive relief, compensatory and

exemplary damages, and attorney's fees and costs. Id. at 12 ,,

(b)-(d). Cummings withdrew her claim under the THRC, however,                in

her response to Premier's motion to dismiss. Doc. 15 at 5 n.3.

                                       II.

                             Grounds of the Motion

        Premier moved to dismiss Cummings's complaint for lack of

subject matter jurisdiction, based on its argument that she lacks

standing, and for failure to state a claim upon which relief can

be granted.




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                                      III.

                                    Analysis

A.      Standing

        For the court to have subject matter jurisdiction over a

case, the plaintiff must have standing. Lujan v .. Defenders of

Wildlife, 504 U.S. 555, 560 (1992). At the pleading stage, the

plaintiff must allege facts that allow the court to infer that

she has standing. Bennett v. Spear, 520 U.S. 154, 167-68 (1997).

Standing consists of three elements:

        First, the plaintiff must have suffered an injury in
        fact -- an invasion of a legally protected interest
        which is (a) concrete and particularized and (b) actual
        or imminent, not conjectural or hypothetical. Second,
        there must be a causal connection between the injury
        and the conduct complained of -- the injury has to be
        fairly traceable to the challenged action of the
        defendant, and not the result of the independent action
        of some third party not before the court. Third, it
        must be likely, as opposed to merely speculative, that
        the injury will be redressed by a favorable decision.

        Defenders of Wildlife, 504 U.S. at 560 (citations and

alterations omitted) .       The plaintiff must allege standing for

each form of relief sought. Friends of the Earth,             Inc. v. Laidlaw

.Envtl. Servs.     (TOC), Inc., 528 U.S. 167, 185 (2000).

        The court finds that Cummings did not allege standing to

seek equitable relief, but that she did allege standing to seek

damages. Accordingly, her claims for equitable relief, but not

damages, should be dismissed for lack of subject matter


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jurisdiction.

     1.      Standing to Seek Equitable Relief Was Not Alleged

     To allege standing to seek equitable relief, a plaintiff

must allege that the defendant either (1) poses an imminent

threat of harm, City of Los Angeles v. Lyons, 461 U.S. 95, 111

(1983), or (2) is currently inflicting harm, Friends of the

Earth,    528 U.S. at 184-85.

             a.   Imminent Harm Was Not Alleged

     To allege standing based on a future injury, the plaintiff

must allege that there is a "real or imminent threat that the

plaintiff will be wronged again." City of Los Angeles v. Lyons,

461 U.S. 95, 111 (1983). A plaintiff may allege that she faces an

imminent threat of harm by alleging facts from which the court

can infer that she is likely to return to the public

accommodation. Hunter v. Branch Banking & Trust Co., No. 3:12-CV-

2437-D, 2013 WL 4052411, at *2     (N.D. Tex. Aug. 12, 2013). In

deciding whether to make such an inference, courts consider "(1)

the proximity of the defendant's business to the plaintiff's

residence,    (2) the plaintiff's past patronage of the defendant's

business,    (3) the definitiveness of the plaintiff's plans to

return, and (4) the plaintiff's frequency of travel near the

defendant." Id.; see also Defenders of Wildlife,         504 U.S. at 564

(holding that "'some day' intentions" without "concrete plans" do


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not support finding of "actual or imminent injury") . I.n

evaluating the defendant's proximity to the plaintiff, courts

consider the distance between the two and the availability of

closer alternatives. Hunter, 2013 WL 4052411, at *2.

      Here, the court cannot infer that Cummings is likely to

return to Premier. The only pertinent fact she alleged is that

she "still wishes to access Defendant's services and receive care

in Defendant's facilities." Doc. 11 at 5 '         28. This statement is

a "'some day' intention[]," and Cummings alleged no "concrete

plans" to return. See Defenders of Wildlife, 504 U.S. at 564.

Further, the facts alleged do not allow us to infer that she

lives in close proximity to Premier, or that there are few closer

alternatives. While the court could conduct research to make such

a finding,    it is Cummings's burden to allege facts that support

an inference of standing. And, based on the facts alleged, the

court cannot infer that she has visited Premier before or that

she travels frequently to Keller, Texas, where Premier is

located. Thus, the facts alleged are insufficient to support a

conclusion that Cummings is likely to return to Premier. As a

result, Cummings did not allege that she faces an imminent threat

of harm for which she has standing to seek relief.

     b.      Qngoing Harm Was Not Alleged

     To allege standing based on an ongoing injury, the plaintiff


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must allege that "she knows that the public accommodation is

noncompliant and that she would visit that accommodation were it

compliant." Hunter, 2013 WL 4052411, at *3. In determining

whether the plaintiff alleged that she would visit the

accommodation were it ADA-compliant, courts apply the same four-

factor test they use to evaluate the plaintiff's intent to

return. Jd.

     Alternatively, the plaintiff may allege that an ADA

violation "actually affects his activities in some concrete way."

Frame v.   ~ity   of Arlington, 657 F.3d 215, 235     (5th Cir. 2011)

(holding that plaintiffs had standing to seek injunction, because

they alleged that inaccessible sidewalks forced them to take

longer routes); see also Deutsch v. Annis Enters., 882 F:3d 169,

174 (5th Cir. 2018)     (en bane)   (holding that plaintiff lacked

standing to seek injunction for ADA violation, because plaintiff

only visited defendant's business once, showed no intent to

return, and failed to show that alleged ADA violation impacted

day-to-day life).

     Here, Cummings did not allege that Premier is currently

harming her in any way. As explained above, we cannot infer,

based on the facts provided, that Cummings is likely to return to

Premier. For this reason, she did not allege an ongoing harm

under the Hunter factors. And, she did not allege that Premier's


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alleged discrimination is currently impacting her daily life. As

a result, Cummings did not allege that Premier is causing her an

ongoing harm that could serve as the basis for standing.

         Because Cummings failed to allege that she faces either an

imminent threat of harm or an ongoing harm,           she failed to allege

an injury for which she can seek equitable relief. For this

reason, the court cannot infer that she has standing to seek

equitable relief, and her claims for such relief should be

dismissed.

         2.   Standing to Seek Damages Was Alleged

         Cummings alleged in her complaint that Premier discriminated

against her, and that such discrimination "caus[ed] Plaintiff to

suffer humiliation, frustration, and emotional distress." Id. at

5   ~   27. Unequal treatment, Heckler v. Mathews, 465 U.S. 728,          738-

40 (1984), and emotional harm, Rideau v. Keller Indep. Sch.

Dist., 819 F.3d 155, 168-69 (5th Cir. 2016), are cognizable

injuries for standing purposes. She alleged that Premier's

discriminatory conduct caused such injuries and, for this reason,

the court can reasonably infer that a judgment against Premier

would redress such injuries. Therefore, Cummings alleged facts

from which the court can infer that she has standing to seek

damages for unequal treatment and emotional harm. For this

reason, said claims should not be dismissed for lack of subject


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matter jurisdiction.

B.   Failure to State a Claim

     1.      Pleading Standards

     Rule 8 (a) ( 2) of the Federal Rules of Civil Procedure

provides,    in a general way, the applicable standard of pleading.

It requires that a complaint contain "a short and plain statement

of the claim showing that the pleader is entitled to relief,"

Fed. R. Civ. P. 8 (a) (2),    •in order to give the defendant fair

notice of what the claim is and the grounds upon which it rests,"

Bell Atl. Corp. v. Twombly, 550 U.s. 544, 555         (2007)    (internal

quotation marks and ellipsis omitted).       Although a complaint need

not contain detailed factual allegations, the •showing"

contemplated by Rule 8 requires the plaintiff to do more than

simply allege legal conclusions or recite the elements of a cause

of action.    Id. at 555 & n.3.     Thus, while a court must accept

all of the factual allegations in the complaint as true, it need

not credit bare legal conclusions that are unsupported by any

factual underpinnings.       See Ashcroft v. Igbal,   556 U.S. 662,       679

(2009)    ("While legal conclusions can provide the framework of a

complaint, they must be supported by factual allegations.")

     Moreover, to survive a motion to dismiss for failure to

state a claim, the facts pleaded must allow the court to infer

that the plaintiff's right to relief is plausible.             Id.   To


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allege a plausible right to relief, the facts pleaded must

suggest liability; allegations that are merely consistent with

unlawful conduct are insufficient.                 Twombly, 550 U.S. at 566-69.

"Determining whether a complaint states a plausible claim for

relief .          [is] a context-specific task that requires the

reviewing court to draw on its judicial experience and common

sense."      Igbal,   556 U.S.       at 679.

        2.   No Plausible Claim for Damages Was Alleged

        Damages are not recoverable under Title III of the ADA.

Frame v. City of Arljngton, 575 F.3d 432, 438 & n.5                 (5th Cir.

2009)    (citing 42 U.S.C.       §    12188(a); Newman v. Piggie Park

Enters., 390 U.S. 400, 402             (1968)).

        Damages for emotional distress are unrecoverable in actions

brought to enforce Section 504 of the RA. United States v. Forest

Dale, Inc., 818 F. Supp. 954,             970    (N.D. Tex. 1993); Witbeck v.

Embry-Riddle Aeronautical Univ.,                Inc., 269 F. Supp. 2d 1338, 1340

(M.D. Fla. 2003)       (citing Barnes v. Gorman, 536 U.S. 181, 187-89

(2002)); Khan v. Albuquerque Pub. Sch., 652 F. Supp. 2d 1211,

1221-25 (D.N.M. 2003)        (same). Accordingly, they are also

unavailable in actions brought under Section 1557 of the ACA. See

42 U.S. C.   §   18116 (a)   (incorporating by reference enforcement

mechanisms available under Section 504).

        In Bell v. Hood, the Supreme Court held,             "Where legal rights


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have been invaded, and a federal statute provides for a general

right to sue for such invasion, federal courts may use any

available remedy to make good the wrong done." 327 U.S. 678,            684

(1946). But, as the Court later clarified, punitive damages are

unavailable in actions brought under anti-discrimination statutes

passed pursuant to the Spending Clause. Barnes v. Gorman, 536

U.S. 181, 187-89 (2002). The Court analogized the receipt of

federal funds to the formation of a contract with Congress and

explained:

     When a federal-funds recipient violates conditions of
     Spending Clause legislation, the wrong done is the
     failure to provide what the contractual obligation
     requires; and that wrong is "made good" when the
     recipient compensates the Federal Government or a
     third-party beneficiary (as in this case) for the loss
     caused by that failure. Punitive damages are not
     compensatory, and are therefore not embraced within the
     rule described in Bell.

Id. at 189.

     The rule in Barnes •restricts the available damages to

actual compensation for pecuniary damages." Khan,         652 F. Supp. 2d

at 1222   (citing Witbeck, 269 F. Supp. 2d at 1340). Damages for

emotional distress, like punitive damages, do not compensate

plaintiffs for their pecuniary losses, but instead punish

defendants for the outrageousness of their conduct. Id. at 1224-

25. They are also unforeseeable at the time recipients accept

federal funds and expose them to •unlimited liability." Id. For


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these reasons, plaintiffs cannot recover such damages in actions

brought under Section 504. Id. at 1225.

     Cummings sought compensatory damages pursuant to Title III

of the ADA, Section 504 of the RA, and Section 1557 of the ACA.

Doc. 11 at 13 ,   (i). The only compensable injuries that Cummings

alleged Premier caused were "humiliation, frustration, and

emotional distress." Id. at 5 , 27. As stated, Title III of the

ADA does not provide her a cause of action to pursue any damages.

And, Section 504 of the RA and Section 1557 of the ACA do not

provide her a cause of action to pursue damages for emotional

harm, and she alleged no other statute that does. Therefore, with

respect to her damages claims, the court cannot infer from the

facts alleged that Cummings has a plausible right to relief. As a

result, such claims should be dismissed.

                              * * * * * * *
     In plaintiff's response to the motion to dismiss, plaintiff

seems to be suggesting that the court authorize her to file yet

another amended complaint. Doc. 15 at 9.

     Local Civil Rule LR 5.l(c) requires that any document

containing more than one pleading, motion, or other paper

"clearly identify each pleading, motion, or other paper in its




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title." Local Civil Rule 15.l(a) further provides:

         When a party files a motion for leave to file an
         amended pleading .     , the party must attach a copy
         of the proposed amended pleading as an exhibit to the
         motion. The party must also submit with the motion an
         original and a judge's copy of the proposed pleading.

         Plaintiff's request does not comply with any of these

requirements. Her response does not identify any motion for leave

to amend in its title. Nor did she attach a copy of her proposed

amended complaint as an exhibit, and she did not submit an

original or judge's copy of a proposed amended complaint.

         Plaintiff can hardly claim ignorance of the Local Civil

Rules because she was reminded of them in a memorandum opinion

and order the court issued on January 3, 2019, in its case No.

4:18-CV-546-A, which was an action virtually identical to the

instant one that plaintiff had filed against an optometrist,

styled "Jane Cummings, Plaintiff, v. Total Eye Care, Defendant.• 2

        Because of her noncompliance, the court does not consider

that she actually made a motion for leave to amend. Moreover,

even if the court were to interpret what she said as a motion for

leave, the court could not evaluate the merit of such a motion

without any knowledge of what another amended complaint might

say. In any event, plaintiff has had more than a fair opportunity


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          ln the Total Eye Care action, the optometrist's office offered to provide an appropriate
inte1-preter for plaintiff if she came to its place of business, but plaintiff was not satisfied because she
insisted that the interpreter be "ce1iified." Case No. 4: 18-CV-546-A, Doc. #20 at 4, if 19.

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to plead her best case. Therefore, the court is not granting

plaintiff leave to replead again.

                                    IV.

                          Conclusion and Order

     Because Cummings failed to allege facts from which we can

infer that she has standing to seek equitable relief, and because

she failed to state a claim for damages upon which relief can be

granted,   this court finds that Premier's motion to dismiss should

be granted. Therefore,

     The court ORDERS that Premier's motion to dismiss be, and is

hereby, granted, and Cummings's claims in the above-captioned

action be, and are hereby, dismissed.

     SIGNED January 16, 2019.




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